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Crissie Stephenson

Subject:                              FW: depositions of FSS - Re: Jones/FSS - Deposition Notices and Requests for
                                      Production of Documents




From: Vickie Driver <vickie.driver@crowedunlevy.com>
Sent: Monday, May 20, 2024 11:00 AM
To: Crissie Stephenson <crissie.stephenson@crowedunlevy.com>
Subject: FW: depositions of FSS - Re: Jones/FSS - Deposition Notices and Requests for Production of Documents




                      Vickie Driver
                      Shareholder/Director


                      Dallas                        Houston                               Oklahoma City                Tulsa
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From: Paterson, Paul <ppaterson@paulweiss.com>
Date: Friday, May 3, 2024 at 11:02 AM
To: Vickie Driver <vickie.driver@crowedunlevy.com>, Annie Catmull <aecatmull@o-w-law.com>, Sara Brauner
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Cc: Kimpler, Kyle <kkimpler@paulweiss.com>, Robinson, Vida <ViRobinson@paulweiss.com>, GRP-PW-
JONESBK <GRP-PW-JONESBK@paulweiss.com>
Subject: RE: depositions of FSS - Re: Jones/FSS - Deposition Notices and Requests for Production of Documents

ALERT: Email contains attachments from external sender. Be cautious.

Vickie,

Thanks for the call just now. As discussed, we have agreed to hold all of the plan confirmation deadlines in abeyance.

Paul


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